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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     CESAR FIGUEROA, JR.
 6
 7                                  IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                         )   CASE NO. CR. S-09-194 FCD
10                                                     )
                             Plaintiff,                )
11                                                     )   STIPULATION AND ORDER TO CONTINUE
             v.                                        )   STATUS HEARING AND TO EXCLUDE TIME
12                                                     )   PURSUANT TO THE SPEEDY TRIAL ACT
                                                       )
13   CESAR FIGUEROA, JR., and                          )
     MARCUS WILLIAMS,                                  )
14                                                     )
                       Defendant.
15   _______________________________
16          This case is currently scheduled for a status hearing on June 1, 2009. The attorneys for both parties
17   have conferred and agree that additional time is needed for defense preparation and meetings between the
18   parties with the goal being to resolve the case by way of a disposition.
19          The parties, through their respective counsel, hereby stipulate and agree that the status conference
20   scheduled in this case for June 1, 2009, be continued until June 22, 2009, at 10:00 a.m. In addition, the
21   parties stipulate that the time period from June 1, 2009, to June 22, 2009, be excluded under the Speedy
22   Trial Act (18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to provide defense counsel
23   with the reasonable time to prepare.
24   ///
25   ///
26   ///
27   ///
28   ///
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 1   Dated: May 27, 2009
 2
                           Respectfully submitted,
 3
     LAWRENCE G. BROWN                                      DANIEL BRODERICK
 4   Acting United States Attorney                          Federal Defender
 5
 6    /s/ Lexi Negin for                                    /s/ Lexi Negin
     JILL THOMAS                                            LEXI NEGIN
 7   Assistant U.S. Attorney                                Assistant Federal Defender
     Attorney for United States                             Attorney for Cesar Figueroa
 8
                                                            /s/ Lexi Negin for
 9                                                          MICHAEL HANSON
                                                            Attorney for Marcus Williams
10
11
            IT IS SO ORDERED.
12
     Dated: May 27, 2009
13
                                                 _______________________________________
14                                               FRANK C. DAMRELL, JR.
15                                               UNITED STATES DISTRICT JUDGE

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